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                     IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION


UNITED STATES OF AMERICA                   )      CASE NO.: 4:19CR149
                                           )
      vs.                                  )
                                           )
BARRY WRIGHT,                              )
                                           )
        Defendant.                         )


                                          ORDER
      Application for leave of absence has been requested by Alex L. Zipperer for the period of

Monday, November 29, 2021 through and including Friday, December 17, 2021.

      The above and foregoing request for leave of absence is GRANTED.

      SO ORDERED, this 27th day of ___________,
                                    October     2021.




                                           ________________________________
                                           _________________
                                           _________  __________________
                                                             _____
                                                               _      ______
                                                                      __
                                           CHRISTOPHER
                                           CHRISTOP PHER L. RAY
                                           U. S. MAGISTRATET JUDGE
                                                               JUDGE
                                           SOUTHERN DISTRICT OF GEORGIA
